Case: 1:04-cr-00522-JRA Doc #: 52 Filed: 07/11/05 1 of 6. PageID #: 164
Case: 1:04-cr-00522-JRA Doc #: 52 Filed: 07/11/05 2 of 6. PageID #: 165
Case: 1:04-cr-00522-JRA Doc #: 52 Filed: 07/11/05 3 of 6. PageID #: 166
Case: 1:04-cr-00522-JRA Doc #: 52 Filed: 07/11/05 4 of 6. PageID #: 167
Case: 1:04-cr-00522-JRA Doc #: 52 Filed: 07/11/05 5 of 6. PageID #: 168
Case: 1:04-cr-00522-JRA Doc #: 52 Filed: 07/11/05 6 of 6. PageID #: 169
